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Exhibit A

REDACTED COPY
OF
PURCHASE AND SALE AGREEMENT
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This Purchase And Sale Agreement (hereinafter the “Agreement”) is made this 19" day of
June, 2014, by and between AT EMERALD, LLC, a Nevada limited liability company

(hereinafter “AT Emerald”), and KOYO SHIPPING AND TRADING CORPORATION,

(hereinafter “Koyo”). This Agreement is based upon the following recitals:
RECITALS
WHEREAS, AT Emerald is the owner of a certain emerald described herein below: and
. WHEREAS, AT Emerald desires to sell. and Koyo desires to purchase the emerald as
hereinafter described; and
WHEREAS, AT Emerald is currently a debtor-in-possession in the bankruptcy case
entitled Inte AT Emerald, LLC, Case Number BK-N-14-50331-BTB (the “Bankruptcy Case”).

NOW, THEREFORE, the parties hereto agreé as follows:

 

Subject to the conditions hereinafter set-forth, AT Emerald agrees to sell and Koyo agrees
to purchase a certain 21,000 carat emerald matrix (the “Emerald”) which is currently located at
Sarasota Vault, 640 South Washington Blvd., Suite 125, Sarasota, Florida, 34236 (hereinafter the.
“Storage Vault”).

The purchase price for the Emerald shall be the sum of (i,

qi, payable in cash or cash equivalent in the manner set forth below. |
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3. Condit ceden

A) Within ten (10) days following the execution of this Agreement, Koyo shall inspedt
the Emerald at the Storage Vault. AT Enmerald shall cooperate in arranging such inspection at.a
mutually agreeable time. Koyo shail be entitled to bring such gemologist or other experts as
Koyo shall deem tiecessary to conduct its own inspection of the Emerald. Koyo acknowledges
that it has not relied upon any representations of AT Emerald conceming the condition of the
Emerald, and relies solely upon its own inspection of the Emerald. On ot before 5:00 p.m. PST
on the eleventh day following the execution of this Agreement, Koyo shall provide notice by email
whether it is satisfied with the condition of the Emerald. If Koyo is satisfied with the condition of
the Emerald, escrow shall close in the manner set forth herein below. If Koyo indicates it is
dissatisfied with the condition of the Emerald, this Agreement shall be null and void, and all
obligations of the parties hereunder shall be deemed canceled.

B) Within ten (10) days following the execution of this Agreement, Koyo shall
provide to AT Emerald evidence of its financial ability to consummate this transaction in a manner

satisfactory to AT Emerald. In the event AT Emerald is not satisfied in its sole discretion that

Koyo has the financial ability to consummate this transaction, AT Emerald shall provide email _.-

notice to Koyo that the transaction is canceled, and in such event this Agreement shall be-null and
void and all obligations of the parties hereunder shall be cancelled.
C) This Agreement shall be subject to and conditional upon entry of an order
_ approving the sale (the “Approval Order”) by the Bankruptcy Court in the Bankruptcy Case, AT
Emerald shall be responsible for bringing the motion before the Court, and shall seek'a hearing on
shortened notice, with a hearing date to be within seven (7)-days of the date of filing the motion, or

as close thereto as possible.

 
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4. — Close of Escrow |

Escrow shall close for this transaction (“Close of Escrow”) within three (3) days following
the entry of the Approval Order{or 3 days following the inspection and acceptance of the Emerald
by Koyo]. Close:of Escrow shall occur at the Law Offices of Alan R. Smith, Esq., or such other

place as the parties shall mutually agree.

 

Prior to Close:of Escrow, Koyo shall cause to be deposited the sum fh.
SED th: “Perchase Funds”) QED into a segregated
trust account entitled “At Emerald Trust Account” located at Wells Fargo Bank in Reno, Nevada
an (QED into bank account designated by AT Emerald LLC. Wiring or other transfer
instructions shall be provided to Koyo within three (3) days following the execution of this

Agreement.

 

Prior to Close of Escrow, AT Emerald shall deliver to the law offices of Alan R. Smith,
Esq., an executed Bill of Sale, transferring the Emerald from AT Emerald to Koyo, or such other
entity.as Koyo so designates in writing prior to Close of Escrow, as well as written instructions to
the Storage Vault (the “Storage Vault Instructions”) representing that the Emerald has been sold to
Koyo, or its nominee, and. authorizing Koyo, or its nominee, complete access to the Emerald.

7. Instructions to Escrow Agent

The Law Offices of Alan R. Smith (hereinafter “Escrow Agent”) is instructed as follows:
On the closing date, Escrow Agent shail:

A) Deliver the Bill of Sale to Koyo, or nominee, in-a manner‘specified by Koyo.

B) Deliver the Storage Vault Instructions to Koyo in a manner identified by Koyo.

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C) Maintain the QED on ccposit at Wells

Fargo Bank pending further order of the Bankruptcy Court.

 

Koyo acknowledges that it has relied upon its own inspection of the Emerald in connection
with this Agreement, and has not relied upon any representation whatsoever by AT Emerald, or
any agent or affiliate of AT Emerald. Koyo acknowledges that this sale is “as 1s,” and that AT
Emerald has made no warranty or other representation whatsoever regarding the condition or .
quality of the Emerald.

9. Representatic

A) AT Emerald represents that it is the true and lawful owner of the Emerald, and that,
subject to the Approval Order, has the ability to transfer the Emerald free and clear of all liens and
encumbrances.

B) That AT Emerald’s managing member is Anthony G. Thomas (hereinafter
“Thomas”), who has the authority to act on béhalf of AT Emerald, and to execute all such
documents as shall be required in connection with this transaction.

10. Representations of Koyo

A) Koyo represents that it is a valid and currently chartered corporation, and that
David Charles Clarke has authority to act on behalf of Koyo, including authority to execute all
documents as shall be required in connection with this transaction.

11. Purchase Price Confidential

The parties hereto agree that the amount of the purchase price shall remain confidential,
and shall not be disclosed in any public filing. The parties agree that the purchase price may be
‘disclosed to the Bankruptoy Judge only in a filing under seal

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12. Governing Law

This Agreement shall be construed and governed in accordance with the laws of the State
of Nevada, as well as the laws of the United States of America as the same shall be applicable.

13. Jurisdiction

The parties hereto specifically consent to the jurisdiction of the United States Bankruptcy
Court for the State of Nevada, Reno, Nevada, in connection with this Agreement, specifically
including the enforcement of this Agreement and any claims associated therewith,

14. Attorneys’ Fees

If any litigation arises out of or in connection with enforcement of this Agreement, the
prevailing party shall be entitled to recovery its litigation costs, including expert witness fees and
attorneys’ fees.

DATED:- this 19” day of June, 2014

 

AT EMERALD, LLC
By: Goong Vexece) —
ANTHONY G. THOMAS
ging Member.

DATED:- this 19th day of June, 2014

KOYO SHIPPING AND TRADING
CORPORATION

By, FPLC. lerKe
DAVID CHARLES CLARKE
Finance Director & International Trustee

 

 
